      Case 1:17-cv-00365-DAE-AWA Document 221-1 Filed 11/15/18 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-DAE-AWA
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )

                ORDER GRANTING MOTION TO EXCLUDE PROPOSED
                EXPERT TESTIMONY OF DR. TERRENCE P. MCGARTY

        Having considered Grande Communications Networks LLC’s (“Grande”) Motion to

Exclude the Proposed Expert Testimony of Dr. Terrence P. McGarty, the Court finds that the

Motion should be GRANTED. The Court is of the opinion that Dr. McGarty’s proposed expert

testimony should be excluded because his opinions are not based upon sufficient facts or data,

are not based on reliable application of recognized principles or methods to the facts of the case,

and venture outside the areas on which he is entitled to offer expert testimony in view of his

qualifications and experience.


        So ORDERED this ___ day of __________, 2018.




                                                     _____________________________________
                                                      ANDREW W. AUSTIN
                                                      UNITED STATES MAGISTRATE JUDGE




                                                 1
